              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:12-cr-00088-MR-DLH-1


UNITED STATES OF AMERICA,       )
                                )
                  Plaintiff,    )
                                )
              vs.               )               ORDER
                                )
                                )
ALEX DEAN NELSON,               )
                                )
                  Defendant.    )
_______________________________ )
                                )
PETITION OF TAMMY NELSON.       )
_______________________________ )

      THIS MATTER is before the Court sua sponte.

      The deadline for conducting discovery in this matter is set to expire

on February 7, 2014. Pursuant to Rule 32.2(c)(1)(B) of the Federal Rules

of Criminal Procedure, the Court will allow the parties a period of thirty (30)

days following the close of discovery within which to file motions for

summary judgment.

      IT IS, THEREFORE, ORDERED that the parties shall have through

and including March 10, 2014 within which to file motions for summary

judgment. Should no motions for summary judgment be filed, the Court will

set the ancillary petition for hearing during the May 5, 2014 criminal term.


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 IT IS SO ORDERED.             Signed: January 24, 2014




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